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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          CENTRAL DIVISION


TONY VERSER                                                             PLAINTIFF


VS.                       No. 4:20-cv-01306 BSM/PSH


KILOLO KIJAKAZI, Acting Commissioner,
    Social Security Administration                                    DEFENDANT



            PROPOSED FINDINGS AND RECOMMENDATIONS

                                 INSTRUCTIONS

      The following recommended disposition has been sent to United States District

Judge Brian S. Miller. You may file written objections to all or part of this

Recommendation. If you do so, those objections must: (1) specifically explain the

factual and/or legal basis for your objection; and (2) be received by the Clerk of this

Court Clerk within fourteen (14) days of this Recommendation. By not objecting, you

may waive the right to appeal questions of fact.




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                                 DISPOSITION


      Defendant Kilolo Kijakazi (“Kijakazi”), in her unopposed motion for voluntary

remand (docket entry no. 16) requests that this case be reversed and remanded for

further administrative proceedings. For good cause, the Court recommends that the

unopposed motion to reverse and remand be granted. This is a "sentence four"

remand within the meaning of 42 U.S.C. § 405(g) and Melkonyan v. Sullivan, 501

U.S. 89 (1991).

      IT IS SO ORDERED this 7th day of December, 2021.




                                      UNITED STATES MAGISTRATE JUDGE




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